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 4
                               UNITED STATES DISTRICT COURT
 5                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 6
     _______________________________________
 7                                          )
     BRYAN J. PARENT,                       )
 8                                          )                No. C21-550RSL
                           Plaintiff,       )
 9              v.                          )
                                            )                ORDER TO SHOW CAUSE
10   ISLAND COUNTY SUPERIOR COURT,           )
     et al.,                                )
11                                          )
                           Defendants.      )
12   _______________________________________)
13                This matter comes before the Court sua sponte. The complaint in the above-
14   captioned matter was filed on April 29, 2021. To date, service of the summons and complaint
15   has not been made on defendants as required by Fed. R. Civ. P. 4(m). Plaintiff is hereby
16   ORDERED to show cause why the complaint should not be dismissed. Plaintiff shall file a
17   responsive brief no later than October 27, 2021. The Clerk of Court shall note this Show Cause
18   on the Court’s calendar for Friday, October 29, 2021.
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                  DATED this 5th day of October, 2021.
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22
23                                            A
                                              Robert S. Lasnik
24                                            United States District Judge
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     ORDER TO SHOW CAUSE
